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August 31, 2020                                                                   (212) 513-3494
                                                                                  james.power@hklaw.com



Via ECF

Honorable Kari A Dooley
Brien McMahon Federal Building
United States Courthouse
915 Lafayette Boulevard – Suite 266
Bridgeport, Connecticut 06604

         Re:        In Re: Seawolf Tankers Inc. et al.
                    U.S.D.C., D. Conn., No. 3:20-mc-00067-KAD

Dear Judge Dooley:

         We are attorneys for Seawolf Tankers Inc. (“Seawolf”) and Heidmar Inc. (“Heidmar”)
(Seawolf and Heidmar, collectively “Applicants”). We write today in response to the Court’s
request during the telephonic conference held on August 28, 2020 at 3:30 pm requesting that
Applicants submit their proposed subpoenas seeking the production of documents and deposition
testimony from the entities identified in Applicants’ Application for discovery for use in foreign
proceedings pursuant to 28 U.S.C. Section 1782. Applicants’ proposed subpoenas are attached to
this letter as follows:

         1. Proposed subpoena for the production of documents from Deloitte & Touche LLP.
         Attached as Exhibit 1.

         2. Proposed subpoena for the production of documents from Ridgebury Crude Tankers
         LLC. Attached as Exhibit 2.

         3. Proposed subpoena for the production of documents from Ridgebury Management LLC.
         Attached as Exhibit 3.

         4. Proposed subpoena for the production of documents from Ridgebury Tankers LLC.
         Attached as Exhibit 4.

         5. Proposed subpoena for the production of documents from Ridgebury Tankers Ltd.
         Attached as Exhibit 5.

         6. Proposed subpoena for deposition testimony from Robert Burke (CEO). Attached as
         Exhibit 6.


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Honorable Kari A Dooley
August 31, 2020
Page 2


        7. Proposed subpoena for deposition testimony from Hew Crooks (CFO). Attached as
        Exhibit 7.


        We thank the Court for its attention to this matter.



                                                      Respectfully submitted,



                                                      James H. Power

Copy by ECF to:
All Counsel of Record




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